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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                          )
                                                    )
                                    Plaintiff,      )
                                                    )
                 vs.                                )       Case No. 08-CR-30255-MJR
                                                    )
 RAUL GONZALEZ RODRIGUEZ,                           )
                                                    )
                                    Defendant.      )

                                                 ORDER
 REAGAN, District Judge:
                 On December 12, 2008, the Defendant filed a motion to appoint an interpreter for “all

 court proceedings, proffers, pre-sentence investigation interviews, and any other matters related to his

 case” (Doc. 28). The Court notes that the Defendant has retained his own counsel, however.

 Accordingly, court ordered appointment of an interpreter to assist with each and every matter related to

 the Defendant’s case is not warranted.

                 Accordingly, the Court GRANTS IN PART AND DENIES IN PART the motion to

 appoint an interpreter (Doc. 28). The motion is GRANTED to the extent that the Court has an obligation

 to provide an interpreter at in-court proceedings. However, the Court DENIES the motion with respect

 to all other matters related to the Defendant’s case, though the Court will reconsider this ruling if the

 Defendant provides legal authority indicating that the Court must provide further services.

                 In the future, defense counsel is DIRECTED to inform the Court well in advance of each

 and every setting where the presence of an interpreter is needed, so as to permit the Court ample time to

 schedule a licensed interpreter.

                 IT IS SO ORDERED.

                 DATED this 15th day of December 2008.

                                                         s/ Michael J. Reagan
                                                         MICHAEL J. REAGAN
                                                         United States District Judge
